 Case: 4:24-cv-00147-CDP          Doc. #: 20      Filed: 03/12/24      Page: 1 of 27 PageID #:
                                                301



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

SPENCER MORGAN, FRANCIS NOVAK,                   )
and ROWENA KOENIG, on behalf of                  )
themselves and all others similarly situated,    )
                                                 )
             Plaintiffs,                         )
                                                 )
v.                                               )           Case No. 4:24-CV-00147-CDP
                                                 )
MISSOURI HIGHER EDUCATION                        )
LOAN AUTHORITY OF THE STATE                      )
OF MISSOURI d/b/a MOHELA, MIGUEL                 )
CARDONA, in his official capacity as             )
Secretary of the United States Department        )
of Education, and the UNITED STATES              )
DEPARTMENT OF EDUCATION,                         )
                                                 )
               Defendants.                       )


             DEFENDANT HIGHER EDUCATION LOAN AUTHORITY
              OF THE STATE OF MISSOURI’S MEMORANDUM IN
         SUPPORT OF ITS MOTION TO DISMISS PLAINTIFFS’ COMPLAINT


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 Case: 4:24-cv-00147-CDP          Doc. #: 20     Filed: 03/12/24     Page: 2 of 27 PageID #:
                                               302



                                        INTRODUCTION

       The Court should dismiss this case against Defendant Higher Education Loan Authority

of the State of Missouri (“MOHELA”), which is part of, an arm of, and an instrumentality of the

State of Missouri, because the Eleventh Amendment bars this case; MOHELA’s sovereign

immunity under Missouri law bars Plaintiffs’ claims; the Higher Education Act of 1965, as

amended, 20 U.S.C. § 1001 et seq. (“HEA”), preempts Plaintiffs’ state law claims; and Plaintiffs’

claims are otherwise legally deficient, as discussed below.

       Public Service Loan Forgiveness Program. In accordance with the HEA, the United

States Department of Education (the “USDOE”) makes loans to students to help them finance

their postsecondary education. The USDOE enters into contracts with various entities, including

MOHELA, to service federal student loans on its behalf. Compl. ¶¶ 42, 211.

       The HEA includes a Public Service Loan Forgiveness (“PSLF”) Program, pursuant to

which a borrower may apply to have the USDOE discharge (i.e., forgive) the remaining balance

of a borrower’s federal student loans after the borrower has made 120 monthly payments while

working for one or more qualifying employers (government or not-for-profit organizations). See

20 U.S.C. § 1087e(m); 34 C.F.R. § 685.219; Compl. ¶ 3. In general, the borrower is responsible

for arranging for an authorized official of each of her qualifying employers to certify the

borrower’s    employment       and    sign     the   borrower’s     PSLF     application.    See

https://studentaid.gov/manage-loans/forgiveness-cancellation/public-service (last visited on

March 11, 2024).1 Moreover, to qualify for PSLF, the borrower must work full-time for a

qualifying employer when she submits her PSLF application. 20 U.S.C. § 1087e(m)(1)(B); 34



       1
         This Court may take judicial notice of the USDOE’s website. See, e.g., Missourians for
Fiscal Accountability v. Klahr, 830 F.3d 789, 793 (8th Cir. 2016).



                                               -1-
 Case: 4:24-cv-00147-CDP          Doc. #: 20     Filed: 03/12/24     Page: 3 of 27 PageID #:
                                               303



C.F.R. § 685.219(c)(1)(ii)(B).

       The USDOE, with the assistance of one of its contracted loan servicers, determines

whether an applicant qualifies for PSLF. Before the Summer of 2022, the Pennsylvania Higher

Education Assistance Agency (“PHEAA”), also known as “FedLoan Servicing,” was the loan

servicer that assisted the USDOE with PSLF applications. Compl. ¶ 5. Starting in the Summer of

2022, the USDOE transitioned this role from PHEAA to MOHELA. Id.

       There is no provision in federal law or the USDOE’s loan servicing contract2 with

MOHELA (see Exhibit 1) or the amendments thereto dealing with PSLF (see Exhibit 2)3

(collectively, the “Contract”) that dictates how quickly a PSLF application must be processed.

To the contrary, in Amendment 91003120F0331P00029, effective September 15, 2021 (see Ex.

2, at 2-10), and subsequent amendments on March 31, 2023 and January 2, 2024 (see id., at 38-

54), the USDOE detailed how MOHELA was required to process each PSLF application. Nowhere

in the original PSLF amendment or subsequent amendments related to PSLF (id.), however, did

the USDOE specify any timeframe within which MOHELA was required to complete the

processing of a PSLF application. Moreover, the USDOE advises borrowers that “[p]rocessing

times will vary depending on factors such as whether you previously submitted documentation of

employment for review or submitted documentation only at the time you applied for loan


       2
          The Complaint repeatedly references the Contract, and Plaintiffs assert a breach of
contract claim against MOHELA based on a third party beneficiary theory. See Complaint, Count
6. This Court “may consider documents ‘necessarily embraced by the complaint,’ as well as
documents ‘incorporated by reference, or integral to the claim’ in assessing a 12(b)(6) motion to
dismiss[,]’” and can do so without converting the motion to dismiss into a motion for summary
judgment. Spring Lake Pork, LLC v. Great Plains Mgmt., LLC, No. 2:19 CV 18 CDP, 2019 WL
6496570, at *2 (E.D. Mo. Dec. 3, 2019) (quoting Ashanti v. City of Golden Valley, 666 F.3d 1148,
1151 (8th Cir. 2012) and Dittmer Properties, L.P. v. F.D.I.C., 708 F.3d 1011, 1021 (8th Cir.
2013)). In ruling on MOHELA’s motion to dismiss, this Court may consider the Contract.
       3
           Exhibit 2 contains the amendments pertaining to MOHELA’s role with respect to PSLF.



                                               -2-
 Case: 4:24-cv-00147-CDP          Doc. #: 20        Filed: 03/12/24    Page: 4 of 27 PageID #:
                                                  304



forgiveness, the number of your employers, any gaps in your employment or payment history,

and    any    required    follow-up.”       See   https://studentaid.gov/manage-loans/forgiveness-

cancellation/public-service/questions (last visited on March 11, 2024). Regardless of how long it

takes to process a borrower’s PSLF application, the borrower will ultimately make only 120

payments to the USDOE if she qualifies for PSLF: “Any payments you make beyond the 120 that

are required would be refunded to you if it is determined you qualify for forgiveness.” Id.

       MOHELA. The Missouri General Assembly established MOHELA pursuant to an

organizational law enacted in 1981. A provision in the law declares MOHELA a state

instrumentality: “The authority is hereby constituted a public instrumentality and body corporate,

and the exercise by the authority of [its] powers … shall be deemed to be the performance of an

essential public function.” RSMo. § 173.360. MOHELA’s public function is related to student

financial assistance in higher education.

       In 2011, the USDOE selected MOHELA to service student loans on a national basis, and

MOHELA and the USDOE entered into the Contract. See Ex. 1.4 MOHELA remains a third-party

servicer of the USDOE (the owner of the loans), and MOHELA is not itself a party to the

underlying loan arrangements or documents between the USDOE and its student loan borrowers.

       Plaintiffs’ claims. Plaintiffs complain that they have not yet been granted loan forgiveness

pursuant to their PSLF applications.5 They bring putative class claims against MOHELA resulting


       4
          This Court may also take judicial notice of the fact that the 2011 contract between
MOHELA and the USDOE has at all relevant times been publicly available. See
https://sam.gov/opp/d9e44d6034ed4edbb0880b0bceb3bd42/view (EDFSA11D0012.pdf) (last
visited on March 11, 2024).
       5
          Although beyond the scope of this motion, the Court should be aware that Plaintiff
Morgan has reached 120 qualifying payments, pursuant to MOHELA’s calculation, but MOHELA
is waiting for discharge approval from the USDOE. Plaintiff Novak’s loans have been discharged
pursuant to the PSLF Program; in addition, he received a refund for all payments made after the
effective date of the discharge. Plaintiff Koenig has had four loans discharged under the PSLF


                                                  -3-
 Case: 4:24-cv-00147-CDP           Doc. #: 20     Filed: 03/12/24       Page: 5 of 27 PageID #:
                                                305



from its alleged “failure to timely process and render decisions for student loan borrowers

enrolled in the [PSLF] program.” Compl. ¶ 1.6 Plaintiffs assert claims against MOHELA for: (1)

violations of the New York Student Loan Servicers Act, N.Y. Banking Law § 710 et seq.

(“NYSLSA”); (2) violations of the New York General Business Laws, N.Y. Gen. Bus. Law § 349

et seq. (“NYGBL”); (3) violations of the California Consumer Legal Remedies Act, Cal. Civ.

Code § 1750 et seq. (“CLRA”); (4) violations of the California Unfair Competition Law, Cal.

Bus. & Prof. Code § 17200 (“UCL”); (5) violations of the Fair Debt Collection Practices Act, 15

U.S.C. §§ 1692e and f (“FDCPA”); (6) breach of the Contract between MOHELA and the

USDOE; (7) breach of fiduciary duty; (8) negligence; (9) accounting; and (10) unjust

enrichment.7

       Dismissal Grounds. The Court should dismiss this case because the Eleventh Amendment

of the United States Constitution bars the Court from hearing it. As the United States Supreme

Court recently determined in Biden v. Nebraska, 143 S.Ct. 2355, 2366, 2375 (2023), MOHELA

is a part of and an instrumentality of the State of Missouri. MOHELA has not consented to this

Court exercising jurisdiction in this case. Accordingly, the Court must dismiss this case.


Program and has two other loans that are currently short of the 120 qualifying payment threshold
because of missing employment certifications for certain months, as to which she has been advised.
       6
         Although also beyond the scope of this motion, MOHELA notes that since taking over
the PSLF Program from PHEAA on July 1, 2022 and through February 29, 2024, over 660,000
borrowers with nearly 1.75 million loans in the cumulative amount of nearly $48 billion have been
discharged under the PSLF Program.
       7
          As the Court is aware by virtue of its order denying transfer (Dkt. 16), Plaintiffs’ counsel
filed a prior putative class action against MOHELA based on the same underlying theory. See
Jennifer Joy, et al. v. MOHELA, Case No. 4:23-CV-01590-SEP. The differences between that
action and this one are: (i) the USDOE and its Secretary are also named as defendants here and
face a breach of contract claim (Count 11); and, (ii) this case was filed on behalf of borrowers from
New York and California and pursues claims under the statutes of those respective states, while
the Joy case involves borrowers from Colorado and Florida and pursues claims under the statutes
of those particular states.


                                                -4-
 Case: 4:24-cv-00147-CDP             Doc. #: 20     Filed: 03/12/24       Page: 6 of 27 PageID #:
                                                  306



         Alternatively, the Court should dismiss Plaintiffs’ Complaint for the following reasons:

        MOHELA has sovereign immunity under Missouri law, which bars all of Plaintiffs’ claims
         except their contract claim.

        The HEA preempts Plaintiffs’ state statutory claims (Counts 1-4) and their state common
         law claims (Counts 7-10) because neither the NYSLSA, NYGBL, CLRA, UCL, nor any
         state common law can require MOHELA to process and decide PSLF applications within
         a certain timeframe; it is the province of the USDOE, not the states, to determine how and
         when PSLF applications are processed.

        Plaintiffs Morgan and Novak’s claims for violation of the NYSLSA (Count 1) and
         NYGBL (Count 2) fail because these New York statutes do not impose any obligation on
         MOHELA to “timely” process and decide PSLF applications, and they suffered no harm.

        Plaintiff Koenig’s claim for violation of the CLRA (Count 3) fails because the CLRA does
         not apply to loan servicing, and does not impose any obligation on MOHELA to “timely”
         process and decide PSLF applications.

        Plaintiff Koenig’s claim for violation of the UCL (Count 4) fails because the UCL does not
         apply to a “government entity” like MOHELA, and does not impose any obligation on
         MOHELA to “timely” process and decide PSLF applications.

        Plaintiffs’ claim for violations of the FDCPA (Count 5) fails in that MOHELA is not a
         “debt collector” because Plaintiffs do not allege that their student loans were in default at
         the time MOHELA began servicing them, and further because MOHELA was acting in
         its capacity as a bona fide fiduciary to the USDOE.

        Plaintiffs’ breach of contract claim (Count 6) fails because they are neither parties to, nor
         third party beneficiaries of, the Contract and Plaintiffs fail to identify any provision of the
         Contract that MOHELA supposedly breached.

        Plaintiffs’ claims for breach of fiduciary duty (Count 7), negligence (Count 8), and
         accounting (Count 9) fail because MOHELA does not have any fiduciary duty or duty of
         care to Plaintiffs.

        Plaintiffs’ unjust enrichment claim (Count 10) fails because they have not conferred any
         benefit on MOHELA in that the USDOE, not Plaintiffs, pays MOHELA for servicing
         Plaintiffs’ student loans.

                                              ARGUMENT

1.       The Eleventh Amendment of the U.S. Constitution bars this case.

         Plaintiffs’ entire case suffers from a fundamental flaw and must be dismissed because it



                                                  -5-
 Case: 4:24-cv-00147-CDP           Doc. #: 20     Filed: 03/12/24       Page: 7 of 27 PageID #:
                                                307



is barred by the Eleventh Amendment of the United States Constitution in that MOHELA is part

of, an arm of, and an instrumentality of Missouri and has not consented to this Court exercising

jurisdiction in this case.

        Under the Eleventh Amendment, “a federal court generally may not hear a suit brought by

any person against a nonconsenting State.” Allen v. Cooper, 140 S. Ct. 994, 1000 (2020). “‘The

Eleventh Amendment protects States and their arms and instrumentalities from suit in federal

court.’” Johnson v. Griffin, 69 F.4th 506, 512 (8th Cir. 2023) (emphasis added) (quoting Webb v.

City of Maplewood, 889 F.3d 483, 485 (8th Cir. 2018)); see also Lewis v. Clarke, 581 U.S. 155,

162 (2017) (“[A]n arm or instrumentality of the State generally enjoys the same immunity as the

sovereign itself.”).

        In 2023, the United States Supreme Court conclusively determined that MOHELA is a part

of and an instrumentality of Missouri. Biden v. Nebraska, 143 S.Ct. 2355 (2023). In Biden, the

Supreme Court held: “By law and function, MOHELA is an instrumentality of Missouri: It was

created by the State to further a public purpose, is governed by state officials and state appointees,

reports to the State, and may be dissolved by the State.” Id. at 2366 (emphasis added). The Supreme

Court stressed that MOHELA is “an instrumentality created by Missouri, governed by Missouri,

and answerable to Missouri” and “is indeed part of Missouri.” Id. at 2375 (emphasis added).

Accordingly, under the Eleventh Amendment, this Court lacks jurisdiction to hear this case and

must dismiss it. Seminole Tribe of Fla. v. Fla., 517 U.S. 44 (1996).

        Further, as analyzed before Biden, MOHELA is an “arm of the state” of Missouri entitled

to immunity. Beyond the States themselves, the Eleventh Amendment also protects their “arms

and instrumentalities from suit in federal court.” Johnson, 69 F.4th at 512 (quoting Webb, 889 F.3d

at 485). The Eighth Circuit considers two factors to determine arm-of-the-state status. First,




                                                -6-
 Case: 4:24-cv-00147-CDP          Doc. #: 20     Filed: 03/12/24     Page: 8 of 27 PageID #:
                                               308



MOHELA’s independence from the State of Missouri is analyzed. Pub. Sch. Ret. Sys. of Missouri

v. State St. Bank & Tr. Co., 640 F.3d 821, 827 (8th Cir. 2011). Second, the court considers how a

judgment in litigation involving MOHELA could affect the State of Missouri’s treasury. Id.

       Application of the two-factor test to MOHELA warrants the finding that MOHELA is an

arm of the State of Missouri. First, the State of Missouri maintains significant control over

MOHELA, which is defined as a state instrumentality. See RSMo. §§ 173.415, 173.360. The

Governor of Missouri directly or indirectly appoints MOHELA’s board,8 and the Governor also

has the authority to remove any MOHELA board member for cause. RSMo. § 173.360. MOHELA

is assigned to the Missouri Department of Higher Education (“MDHE”), a state agency, and

annually files a report of its previous year’s income, expenditures, and bonds or other forms of

indebtedness issued and outstanding. RSMo. § 173.445.

       Second, while MOHELA is initially liable for a judgment against it, the State of Missouri

may be functionally liable for a judgment against MOHELA. “The Supreme Court has indicated

that a money judgment's potential impact upon a State’s treasury is of ‘considerable

importance[.]’” Pub. Sch. Ret. Sys. Of Missouri, 640 F.3d at 830 (quoting Regents, 519 U.S. at

430-31). The Eighth Circuit acknowledges that “[t]he question is one of ‘potential’ benefit,

however; whether a money judgment in this particular case will actually benefit the State of

Missouri's treasury is not the relevant inquiry.” Id. Recently, in Biden, the Supreme Court stated

unequivocally that financial harm to MOHELA constitutes harm to the State of Missouri. 143 S.Ct.

at 2368. The State of Missouri could be functionally liable for a judgment against MOHELA, and,



       8
          Five members are appointed directly with the advice and consent of the State Senate, the
sixth is a member of the Missouri Coordinating Board for Higher Education (also appointed by
the Governor), and the seventh is the Commissioner of Higher Education (appointed by the
Coordinating Board), who heads the Missouri Department of Higher Education. RSMo. § 173.360.



                                               -7-
 Case: 4:24-cv-00147-CDP          Doc. #: 20     Filed: 03/12/24       Page: 9 of 27 PageID #:
                                               309



thus, this second factor also weighs in MOHELA’s favor.9

2.     MOHELA has sovereign immunity under Missouri law, which bars all of Plaintiffs’
       claims except their contract claim.

       Independent of the Eleventh Amendment, MOHELA has sovereign immunity under

Missouri law, which bars all of Plaintiffs’ claims except for their contract claim (Count 6).

       MOHELA’s sovereign immunity is independent of and broader than its Eleventh

Amendment immunity. Church v. Missouri, 913 F.3d 736, 742 (8th Cir. 2019) (“[S]tates also enjoy

a broader sovereign immunity, which applies against all private suits, whether in state or federal

court.” (quotation omitted); Alden v. Maine, 527 U.S. 706, 713 (1999) (“We have ... sometimes

referred to the States’ immunity from suit as ‘Eleventh Amendment immunity.’ The phrase is

convenient shorthand but something of a misnomer, for the sovereign immunity of the States

neither derives from, nor is limited by, the terms of the Eleventh Amendment.”). Indeed, the

Supreme Court “has repeatedly held that the sovereign immunity enjoyed by the States extends

beyond the literal text of the Eleventh Amendment.” Fed. Mar. Comm'n v. S.C. State Ports Auth.,

535 U.S. 743, 754 (2002).

       “Basic tenets of sovereign immunity teach that courts may not ordinarily hear a suit brought

by any person against a nonconsenting State.” Torres v. Texas Dep't of Pub. Safety, 597 U.S. 580,

587 (2022). Under Missouri law, “[i]n the absence of an express statutory exception or recognized



       9
         MOHELA acknowledges that in Dykes v. Missouri Higher Educ. Loan Auth., No. 4:21-
CV-00083-RWS, 2021 WL 3206691, at *2-4 (E.D. Mo. July 29, 2021), this Court ruled that
MOHELA does not enjoy Eleventh Amendment immunity. MOHELA respectfully submits that
aspect of the Dykes decision is erroneous in light of the subsequent pronouncements by the
Supreme Court in Biden that “[b]y law and function, MOHELA is an instrumentality of Missouri”;
is “an instrumentality created by Missouri, governed by Missouri, and answerable to Missouri”;
and “is indeed part of Missouri.” 143 S.Ct. at 2366, 2375; see also Nebraska v. Biden, 52 F.4th
1044, 1047 (8th Cir. 2022) (“Given [the Missouri] statutory framework, MOHELA may well be
an arm of the State of Missouri under the reasoning of our precedent.”).



                                               -8-
Case: 4:24-cv-00147-CDP            Doc. #: 20      Filed: 03/12/24      Page: 10 of 27 PageID #:
                                                 310



common-law exception, sovereign immunity is the rule and applies to all suits against [Missouri]

public entities.” City of Harrisonville v. Bd. of Trustees of Mo Petroleum Storage Tank Ins. Fund,

655 S.W.3d 770, 774 (Mo. 2022) (quotation omitted).10

       This Court has previously held that MOHELA is a Missouri public entity entitled to invoke

sovereign immunity. Dykes, 2021 WL 3206691, at *5-6. Dykes relied on Stacy v. Truman Med.

Ctr., 836 S.W.2d 911, 919-20 (Mo. banc 1992), which delineated three features common to all

public entities: (1) the governmental or public entity must be formed by government itself or by

the voters acting as a group; (2) the entity must be controlled by and directly answerable to one or

more public officials, public entities, or the public itself; and (3) the entity must perform a service

traditionally performed by the government. Id. at *5. “A public entity/corporation that possesses

all three of the foregoing characteristics is a public corporation for purposes of sovereign

immunity.” Id. This Court concluded that MOHELA met all three requirements. Id. at *6.

       MOHELA’s sovereign immunity bars Plaintiffs’ statutory claims under the NYSLSA

(Count 1), NYGBL (Count 2), CLRA (Count 3), UCL (Count 4), and FDCPA (Count 5) because

Missouri has not waived sovereign immunity with respect to any of these statutes. See Alden, 527

U.S. at 707 (states have sovereign immunity from federal Fair Labor Standards Act, including in

lawsuits brought in state court); Nichols v. City of Kirksville, 68 F.3d 245, 248 (8th Cir. 1995)

(sovereign immunity barred claim against city for violating Missouri statute authorizing civil

liability for employers who fire an employee in retaliation for a workers’ compensation claim);

Barnes v. State of Mo., 960 F.2d 63, 64–65 (8th Cir. 1992) (Missouri has sovereign immunity from


       10
           “Section 537.600 itself waives sovereign immunity only for injuries resulting from
public employees’ negligent operation of a motor vehicle in the course of employment and for
injuries caused by dangerous conditions of the public entity's property. Section 537.610 waives
sovereign immunity in certain circumstances involving insurance coverage.” Metro. St. Louis
Sewer Dist., 476 S.W.3d at 921. None of these exceptions applies in the present case.



                                                 -9-
Case: 4:24-cv-00147-CDP            Doc. #: 20      Filed: 03/12/24      Page: 11 of 27 PageID #:
                                                 311



claims for violation of constitutional rights or the First Amendment Privacy Protection Act).11

       MOHELA’s sovereign immunity also bars Plaintiffs’ breach of fiduciary duty claim (Count

7) because “[b]reach of fiduciary duty is a claim arising in tort.” Preferred Physicians Mut. Mgmt.

Grp. v. Preferred Physicians Mut. Risk Retention, 918 S.W.2d 805, 810 (Mo. Ct. App. 1996). The

same is true for Plaintiffs’ negligence claim (Count 8). Z.S. by & through P.S. v. Rockwood Sch.

Dist., 674 S.W.3d 818, 820 (Mo. Ct. App. 2023) (“Section 537.600.1 provides that public entities

generally have sovereign immunity from liability in negligence actions.”).

       Plaintiffs’ accounting claim (Count 9) stems from their breach of fiduciary duty claim

(Count 7) as Plaintiffs allege that “a fiduciary relationship exists between Plaintiffs and the Class

and MOHELA related to Plaintiffs’ … student loans….” Compl. ¶ 238. Plaintiffs presumably rely

on the rule that “a breach of fiduciary duty gives rise to an action for an accounting if the fiduciary

has profited from the breach.” Savannah Place, Ltd. v. Heidelberg, 122 S.W.3d 74, 81 (Mo. Ct.

App. 2003). The accounting claim, which derives from the underlying breach of fiduciary duty

claim, is likewise a tort claim barred by sovereign immunity.

       Finally, MOHELA’s sovereign immunity bars Plaintiffs’ claim for unjust enrichment

(Count 10). Thompson v. City of St. Peters, 220 F. Supp. 3d 975, 981 (E.D. Mo. 2016) (sovereign

immunity barred unjust enrichment claim); Blair v. City of Hannibal, 194 F. Supp. 3d 875 (E.D.

Mo. 2016) (same). Plaintiffs allege that MOHELA “has been unjustly enriched by its deceptive,



       11
          MOHELA cannot be sued by a private party in the courts of New York or California
because of interstate sovereign immunity. Franchise Tax Bd. of California v. Hyatt, 139 S. Ct.
1485 (2019). And Missouri is not required to recognize any Colorado or Florida statutes. Baker
by Thomas v. Gen. Motors Corp., 522 U.S. 222, 232 (1998) (“The Full Faith and Credit Clause
does not compel a state to substitute the statutes of other states for its own statutes dealing with a
subject matter concerning which it is competent to legislate.” (quotation omitted); DeCrow v. N.
Dakota Workforce Safety & Ins. Fund, 864 F.3d 989, 994 (8th Cir. 2017) (North Dakota was not
required to apply Colorado statute).



                                                - 10 -
Case: 4:24-cv-00147-CDP          Doc. #: 20      Filed: 03/12/24     Page: 12 of 27 PageID #:
                                               312



wrongful, and unscrupulous conduct[.]” Compl. ¶ 247. Plaintiffs’ own allegations establish that

Plaintiffs’ unjust enrichment claim sounds in tort and, in turn, is barred by sovereign immunity.

       In sum, MOHELA’s sovereign immunity under Missouri law bars Counts 1-5 and 7-10.

The Court should dismiss these claims.12

3.     The HEA preempts Plaintiffs’ state statutory claims (Counts 1-4) and their state
       common law claims (Counts 7-10).

       Plaintiffs’ state statutory claims (Counts 1-4) and state common law claims (Counts 7-10)

are based on Plaintiffs’ allegation that “MOHELA has not timely processed and rendered decisions

on pending PSLF applications.” Compl. ¶¶ 8, 154, 163, 174, 186, 224, 228-233, 239, 245. Neither

the NYSLSA, NYGBL, CLRA, UCL, nor any state common law requires MOHELA to process

and decide PSLF applications within a certain timeframe. But even if any such statute or state

common law did so, it would conflict with and be preempted by the HEA because it would

impermissibly impose requirements on the administrative mechanics of the federal PSLF Program.

It is the province of the USDOE, not the states, to determine how PSLF applications are processed

and when they are decided.

       In Chae v. SLM Corp., 593 F.3d 936, 943-50 (9th Cir. 2010), the court held that the HEA

preempted California statutory and common law concerning the method of setting late fees,

repayment start dates, and interest calculations on loans made under the Federal Family Education

Loan Program, which the USDOE administered through contracts with private lenders and

guarantors. The court reasoned that the California state law claims would stand as an obstacle to


       12
          Admittedly, MOHELA does not enjoy sovereign immunity from Plaintiffs’ contract
claim (Count 6). Sovereign immunity is waived as to claims for breach of an express contract that
a Missouri government entity has validly entered into. Hootselle v. Missouri Dep't of Corr., 624
S.W.3d 123, 132 (Mo. 2021). Nevertheless, “[t]his does not result in all claims involving contracts
as being exempt from the application of sovereign immunity.” Blair v. City of Hannibal, 194 F.
Supp. 3d 875, 881 (E.D. Mo. 2016).



                                              - 11 -
Case: 4:24-cv-00147-CDP          Doc. #: 20     Filed: 03/12/24      Page: 13 of 27 PageID #:
                                              313



the uniform administration of the program in accordance with federal law. Id.

       Other courts have focused on a different analysis of HEA preemption than the Ninth Circuit

espoused in Chae, but would reach the same result. Some courts have held that the HEA does not

preempt state law claims to the extent they are based on affirmative misrepresentations and

misconduct as opposed to failures of disclosure (which are expressly preempted by 20 U.S.C. §

1098(g) of the HEA). See Pennsylvania v. Navient Corp., 967 F.3d 273, 287-295 (3d Cir. 2020);

Lawson-Ross v. Great Lakes Higher Educ. Corp., 955 F.3d 908 (11th Cir. 2020); Nelson v. Great

Lakes Educ. Loan Servs., Inc., 928 F.3d 639 (7th Cir. 2019); Hyland v. Navient Corp., No.

18CV9031(DLC), 2019 WL 2918238, at *7 (S.D.N.Y. July 8, 2019) (“This is a private tort suit

alleging misrepresentations regarding federal loan programs; it does not seek to impose new

regulatory obligations on loan servicers.”) (emphasis added). But these courts have recognized

that HEA preemption applies when, as here, “the need for nationwide consistency on …

administrative mechanics is substantial.” Nelson, 928 F.3d at 651; Navient, 967 F.3d at 293; see

also Lawson-Ross, 955 F.3d at 922.

       Here, there must be national uniformity as to the administrative mechanics of the PSLF

Program, including how and when PSLF applications are to be processed and decided. Each state

cannot be allowed to usurp the USDOE’s authority and dictate to the USDOE and its loan servicers

how quickly PSLF applications must be processed or decided. Otherwise, the USDOE and its loan

servicers would have to comply with 50 different state laws in processing applications under a

federal program concerning the forgiveness of federal student loans. Allowing states to regulate

the administrative mechanics of the PSLF Program (such as how quickly PSLF applications must

be decided) could cause chaos and could result in similarly-situated PSLF applicants being treated

differently depending on where they reside. For example, absent HEA preemption, what would




                                              - 12 -
Case: 4:24-cv-00147-CDP           Doc. #: 20      Filed: 03/12/24       Page: 14 of 27 PageID #:
                                                314



stop a state from requiring the USDOE and its loan servicers to deem a PSLF application as

granted, without regard to whether the borrower satisfied the federal eligibility requirements, if the

application was not processed and decided within a certain amount of time set by the state?

          The administrative mechanics of the PSLF Program—including how and when PSLF

applications are to be processed and decided—must be left solely to the USDOE. Accordingly, the

HEA preempts the NYSLSA, NYGBL, CLRA, and UCL, as well as any state common law to the

extent that they purport to require MOHELA to “timely process and render decisions” on PSLF

applications. The Court should dismiss Counts 1-4 and 7-10.

4.        Plaintiffs Morgan and Novak’s NYSLSA claim (Count 1) fails because the NYSLSA
          does not impose an obligation to process and decide PSLF applications in any
          particular time frame.

          Plaintiffs Morgan and Novak contend that MOHELA violated the NYSLSA “by failing to

timely process and render decisions on Plaintiffs’ … PSLF application[ ].” Compl. ¶ 154. Plaintiffs

assert that the alleged delay violated alternative prohibitions in the NYSLSA and was part of

MOHELA’s employment of “schemes, devices, and artifices to defraud and mislead Plaintiffs”

about the status of their loans and PSLF applications. Compl. ¶¶ 153-154. The Complaint alleges

that MOHELA’s actions caused Plaintiffs Morgan and Novak to make payments that they would

otherwise not have owed. Compl. ¶ 156. In fact, however, Plaintiffs Morgan and Novak are

required to continue paying their student loans until and unless their PSLF application is granted.

Further, “[a]ny payments you make beyond the 120 that are required would be refunded to you if

it   is   determined    you   qualify   for   forgiveness.”    See   https://studentaid.gov/manage-

loans/forgiveness-cancellation/public-service/questions (last visited on March 11, 2024).

          In addition to previously-discussed deficiencies, Count 1 should be dismissed because

neither the Contract nor the NYSLSA imposes any obligation to process PSLF claims in any




                                                - 13 -
Case: 4:24-cv-00147-CDP          Doc. #: 20      Filed: 03/12/24     Page: 15 of 27 PageID #:
                                               315



particular time frame and decide them (and, as discussed above, the HEA would preempt the

NYSLSA if it did so), despite MOHELA’s intent to process claims as soon as it can (although

sometimes factors beyond MOHELA’s control impact the length of processing time and frustrate

borrowers). As seen on the face of the Complaint (¶ 153), none of the prohibited practices itemized

by the NYSLSA addresses PSLF, much less imposes any deadline for MOHELA to process and

decide PSLF applications. See N.Y. Banking Law § 719. While there are certain deadlines imposed

to respond to communications and complaints received from the New York Department of

Financial Services, the Complaint does not allege a violation of those provisions or plead

underlying facts related to any inquiry by that state department. See N.Y. Banking Law § 719(7)

& (8); N.Y. Banking Law § 2. Moreover, the Complaint plausibly pleads no underlying facts

regarding alleged misrepresentations or omission of material information.

       In summary, the NYSLSA does not address the processing of a PSLF application (or any

other type of application) submitted by a borrower. Count 1 should be dismissed.

5.     Plaintiffs Morgan and Novak’s NYGBL claim (Count 2) fails because the NYGBL
       does not impose an obligation to process and decide PSLF applications in any
       particular time frame.

       Plaintiffs Morgan and Novak contend that MOHELA violated the NYGBL “by failing to

timely process and render decisions on Plaintiffs’ … PSLF applications.” Compl. ¶ 163. They

allege other purported violations, all of which derive from their allegations that MOHELA did not

timely process and decide their PSLF application. See Compl. ¶ 164 (MOHELA did not “provid[e]

timely updates to Plaintiffs… about the status of their loans [and] the status of their PSLF

applications”), ¶ 166 (MOHELA “misrepresent[ed] and omit[ed] material information about

[Plaintiffs’] PSLF applications, including their obligation to continuing [sic] paying the loan.”).

As addressed above, however, Plaintiffs Morgan and Novak were required to continue paying their




                                              - 14 -
Case: 4:24-cv-00147-CDP            Doc. #: 20      Filed: 03/12/24      Page: 16 of 27 PageID #:
                                                 316



student loans until and unless their PSLF application is granted; once the PSLF application is

granted, any payments made after the effective date of the PSLF discharge will be refunded.

       Count 2 should be dismissed because the NYGBL does not impose any obligation to

process and decide PSLF applications by any set deadline. The NYGBL broadly prohibits

“deceptive acts or practices in the conduct of any business, trade, or commerce or in the furnishing

of any service” in New York. N.Y. Gen. Bus. Law § 349(a). Generally, “to state a claim for

violation of § 349, a plaintiff must allege (a) that the challenged act or practice was consumer-

oriented; (b) that it was misleading in a material way; and (c) that the plaintiff suffered injury as a

result of the deceptive act[.]” Minner v. Navient Corp., No. 18-CV-1086S, 2023 WL 3686636, at

*5 (W.D.N.Y. May 26, 2023). The Complaint fails to plausibly allege that MOHELA engaged in

any practice that was “misleading in a material way.” Among other reasons, that is because the

NYGBL (and the Contract) does not impose any timeframe for MOHELA to process and render

decisions on PSLF applications. And the Complaint also fails to plausibly allege that Plaintiffs

Morgan and Novak suffered any injury because any payments made beyond the 120 that are

required have been or will be refunded once it is determined they qualify for forgiveness.

       Even to the extent that Plaintiffs Morgan and Novak plausibly alleged a violation of the

NYGBL related to MOHELA’s alleged failure to timely process and render decisions on pending

PSLF applications, their claims are preempted by the HEA. See, e.g., New York by James v.

Pennsylvania Higher Educ. Assistance Agency, No. 19 CIV. 9155 (ER), 2020 WL 2097640, at *16

(S.D.N.Y. May 1, 2020) (holding that claims against PHEAA related to “steer[ing] borrowers into

less-favorable repayment options such as forebearance,” which were not based on the servicer’s

affirmative representations to borrowers, were preempted by the HEA). As addressed above, the

administrative mechanics of the PSLF Program must be left solely to the USDOE to ensure




                                                - 15 -
Case: 4:24-cv-00147-CDP           Doc. #: 20      Filed: 03/12/24       Page: 17 of 27 PageID #:
                                                317



national uniformity. The Court, therefore, should dismiss Count 2.

6.     Plaintiff Koenig’s CLRA claim (Count 3) fails because the CLRA does not apply to
       loan servicing and does not impose an obligation to process and decide PSLF
       applications in any particular time frame.

       Plaintiff Koenig contends that MOHELA violated the CLRA “by failing to timely process

and render decisions on Plaintiff[’s] … PSLF applications.” Compl. ¶ 174. Plaintiff Koenig

alleges other purported violations, all of which derive from her allegation that MOHELA did not

timely process and decide her PSLF application. Compl. ¶ 176 (MOHELA “failed to exercise its

duty to timely process and render decisions on pending PSLF applications.”). Count 3 is legally

insufficient and should be dismissed for several reasons.

       First, the CLRA does not apply to loan servicing activity such as MOHELA’s servicing

of Plaintiff Koenig’s student loans and processing of PSLF applications. The CLRA prohibits

certain conduct related to the sale of “goods” or “services.” See Cal. Civ. Code § 1770 (itemizing

proscribed practices by any person “in a transaction intended to or that results in the sale or lease

of goods or services to any consumer”).13

       Courts have repeatedly held that loan servicing “is not the sale of goods or services under

[the] CLRA, unless the seller of the goods or services is the one extending credit.” Bottoni v.

Sallie Mae, Inc., No. C 10-03602 LB, 2011 WL 635272, at *11 (N.D. Cal. Feb. 11, 2011)

(dismissing CLRA claim against entity servicing private student loans); see also Meyer v. Cap.

All. Grp., No. 15-CV-2405-WVG, 2017 WL 5138316, at *6 (S.D. Cal. Nov. 6, 2017) (“For


       13
           The CLRA defines “goods” as “tangible chattels bought or leased for use primarily for
personal, family, or household purposes, including certificates or coupons exchangeable for these
goods, and including goods that, at the time of the sale or subsequently, are to be so affixed to real
property as to become a part of real property, whether or not they are severable from the real
property.” Cal. Civ. Code § 1761(a). The CLRA defines “services” as “work, labor, and services
for other than a commercial or business use, including services furnished in connection with the
sale or repair of goods.” Cal. Civ. Code § 1761(b).


                                                - 16 -
Case: 4:24-cv-00147-CDP           Doc. #: 20     Filed: 03/12/24      Page: 18 of 27 PageID #:
                                               318



purposes of the CLRA, loans are neither goods nor services.”) (citing Alborzian v. JPMorgan

Chase Bank, N.A., 235 Cal. App. 4th 29, 40, 185 Cal. Rptr. 3d 84, 93 (2015) (holding that a

mortgage loan is neither a “good” nor a “service”)).14

       Second, the CLRA does not impose any obligation to process and decide PSLF applications

within a certain time period. Indeed, Plaintiffs cite no such provision in their allegations of

deceptive practices under the CLRA. Compl. ¶ 174 (itemizing three alternative alleged violations

of Cal. Civ. Code § 1770(a)). Moreover, as discussed above, the HEA would preempt the CLRA

if the CLRA contained such a provision. The Court, therefore, should dismiss Count 3.

7.     Plaintiff Koenig’s UCL claim (Count 4) fails because the UCL does not apply to a
       “government entity” like MOHELA, and does not impose an obligation to process
       and decide PSLF applications in any particular time frame.

       Plaintiff Koenig contends that MOHELA violated the UCL “by failing to timely process

and render decisions on [Plaintiff Koenig’s] … PSLF application[ ].” Compl. ¶ 186. Plaintiff

Koenig alleges other purported violations, all of which derive from her allegation that MOHELA

did not timely process and decide her PSLF application. See Compl. ¶ 188 (MOHELA “failed to

exercise its duty to timely process and render decisions on pending PSLF applications.”), ¶ 189

(“MOHELA caused [Plaintiff Koenig] to issue payments to MOHELA when they otherwise would

not have if the loan application had been timely processed and the loan forgiven.”). While Plaintiff



       14
          See also Jamison v. Bank of Am., N.A., 194 F. Supp. 3d 1022, 1032 (E.D. Cal. 2016)
(“Here, the court agrees with … Alborzian and the majority of district court cases and concludes
defendant's mortgage services do not fall within the coverage of the CLRA.”); Consumer Sols.
REO, LLC v. Hillery, 658 F. Supp. 2d 1002, 1016 (N.D. Cal. 2009) (dismissing CLRA claim with
prejudice because “loans are intangible goods and that ancillary services provided in the sale of
intangible goods do not bring these goods within the coverage of the CLRA.”); Kirkeby v. JP
Morgan Chase Bank, N.A., No. 13CV377 WQH-MDD, 2014 WL 7205634, at *9 (S.D. Cal. Dec.
17, 2014) (dismissing CLRA claim because defendants’ alleged loan modification program “is not
a ‘good’ or ‘service’ because a loan modification is a ‘contractual obligation to pay money’ that
‘is not work or labor, nor is it related to the sale or repair of any tangible chattel.’”) (quoting
Fairbanks v. Superior Ct., 46 Cal. 4th 56, 61, 205 P.3d 201, 203 (2009)).


                                               - 17 -
Case: 4:24-cv-00147-CDP           Doc. #: 20      Filed: 03/12/24      Page: 19 of 27 PageID #:
                                                319



Koenig complains that MOHELA has misrepresented her obligation to continue paying the loan,

she, in fact, is required to continue paying her student loans until and unless her PSLF application

is granted. Count 4 is legally insufficient and should be dismissed for a couple reasons.

       First, “California courts have held that a government entity is not a ‘person’15 under the

UCL.” Bridges v. California Dep't of Corr. & Rehab., No. 220CV02207DADJDP, 2023 WL

6626165, at *6 (E.D. Cal. Oct. 11, 2023) (quoting Missud v. City & Cnty. of San Francisco, No.

15-CV-05596-JCS, 2017 WL 1064984, at *18 (N.D. Cal. Mar. 21, 2017)).16

       Second, the UCL does not impose any obligation to “timely” process and decide PSLF

applications. Indeed, Plaintiffs cite no such provision in their UCL allegations (and the HEA would

preempt the CLRA if it contained such a provision). Count 4 should be dismissed.

8.     Plaintiffs’ FDCPA claims (Count 5) fail because MOHELA is not a “debt collector,”
       as defined by the FDCPA and, thus, the FDCPA does not apply.

       Plaintiffs assert MOHELA “violated the FDCPA by failing to timely process and render

decisions on Plaintiffs’ … PSLF applications.” Compl. ¶ 203. Count 5 should be dismissed because

the FDCPA “applies only to debt collectors,” Neff v. Cap. Acquisitions & Mgmt. Co., 352 F.3d

1118, 1121 (7th Cir. 2003), and MOHELA is not a “debt collector” for two independent reasons.



       15
         The UCL defines “person” to “mean and include natural persons, corporations, firms,
partnerships, joint stock companies, associations and other organizations of persons.” Cal. Bus. &
Prof. Code § 17201. For the reasons addressed herein, MOHELA does not qualify.
       16
           See also Aegis Software, Inc. v. 22nd Dist. Agric. Ass'n, No. 15CV2956 BTM (BLM),
2016 WL 4542360, at *7 (S.D. Cal. Aug. 31, 2016) (“The UCL does not include state institutions
in its definition of a ‘person.’”); Trinkle v. California State Lottery, 71 Cal. App. 4th 1198, 1203,
84 Cal. Rptr. 2d 496, 499 (1999) (“The state is neither a natural person, partnership, corporation,
association, nor other ‘organization[ ] of persons.’ It is a sovereign entity representing the
people.”); United Motors Int'l, Inc. v. Hartwick, No. CV 17-00243 BRO (EX), 2017 WL 888304,
at *11 (C.D. Cal. Mar. 6, 2017) (holding that City of Downey, California, as a public entity,
“cannot be held liable under the UCL”); Kajberouni v. Bear Valley Cmty. Servs. Dist., 599 F.
Supp. 3d 961, 972 (E.D. Cal. 2022) (“[C]ourts [have] repeatedly determined public entities and
municipal corporations are not ‘a person’ under the UCL, and are not subject to UCL claims.”).


                                               - 18 -
Case: 4:24-cv-00147-CDP              Doc. #: 20       Filed: 03/12/24        Page: 20 of 27 PageID #:
                                                    320



        a.      MOHELA is not a “debt collector” because Plaintiffs do not allege they were
                in default of their student loans when MOHELA began servicing their loans.

        First, absent from the Complaint’s summary of MOHELA’s servicing history pertaining to

Plaintiffs (see Compl. ¶¶ 15-40) is any allegation that the student loans for which Plaintiffs seek

PSLF relief were in default when the USDOE transferred servicing of the loans to MOHELA. This

omission is fatal to Plaintiffs’ FDCPA claims because a person collecting a debt is not a “debt

collector” for purposes of the FDCPA when, as here, the collection activity “concerns a debt which

was not in default at the time [the debt] was obtained by such person.” 15 U.S.C. § 1692a(6)(F)(iii).

        Numerous courts, including this Court, have held that a loan servicer (including a federal

student loan servicer such as MOHELA) that begins servicing a loan before borrower default is

not a “debt collector” under the FDCPA. See Memhardt v. Nationstar Mortg., LLC, No. 4:17-CV-

01411-AGF, 2018 WL 5923445, at *8 (E.D. Mo. Nov. 13, 2018); Stricklin v. Litton Loan

Servicing, L.P., No. 4:13-CV-1354 CEJ, 2014 WL 1315961, at *1 (E.D. Mo. Apr. 2, 2014).17

Plaintiffs do not allege that their federal student loans were in default when the USDOE transferred

the servicing of their loans to MOHELA. As a result, MOHELA is not a “debt collector” and, in

turn, the FDCPA does not apply.

        b.      MOHELA is not a “debt collector,” as defined by the FDCPA, because it was
                acting in its capacity as a bona fide fiduciary to the USDOE.

        Second, the FDCPA’s definition of ”debt collector” exempts ”any person collecting or

attempting to collect any debt . . . to the extent such activity . . . is incidental to a bona fide fiduciary




        17
          See also Brumberger v. Sallie Mae Servicing Corp., 84 Fed. App’x. 458, 459 (5th Cir.
2004) (“[T]he FDCPA does not apply to Sallie Mae [a student loan servicer] because [plaintiff]
does not allege that he was in default at the time Sallie Mae began servicing his loans.”); Isner-
Monticello v. Nelnet, Inc., No. 820CV2135TKKMTGW, 2021 WL 1854631, at *1 (M.D. Fla. May
10, 2021) (dismissing FDCPA claims against student loan servicer where the complaint did not
allege the loans were in default when defendant began servicing).


                                                   - 19 -
Case: 4:24-cv-00147-CDP          Doc. #: 20      Filed: 03/12/24     Page: 21 of 27 PageID #:
                                               321



obligation. . . .” 15 U.S.C. § 1692a(6)(F)(i). MOHELA is not a “debt collector” because its actions

with respect to Plaintiffs were “incidental” to its “bona fide fiduciary obligation” to the federal

government (the USDOE) under the Contract. See Kirk v. ED Fund, No. 06-4205-CV-C-WAK,

2007 WL 2226046, at *4 (W.D. Mo. Aug. 1, 2007) (dismissing FDCPA claim against ED Fund, a

nonprofit corporation founded by the California Student Aid Commission, related to its

involvement in the collection of funds from defaulted borrowers on federally guaranteed student

loans under the Federal Family Education Loan Program, because ED Fund acted as a fiduciary of

the USDOE and fell within the “bona fide fiduciary obligation” exception) (citations omitted);

Kuntz v. Educ. Credit Mgmt. Corp., No. 1:18-CV-31, 2020 WL 1872332, at *7 (D.N.D. Jan. 7,

2020), report and recommendation adopted, No. 1:18-CV-031, 2020 WL 1872325 (D.N.D. Jan.

24, 2020) (entering judgment for defendant on FDCPA claim because its collection activity related

to federally guaranteed student loans and was incidental to the entity’s fiduciary duty to the

USDOE; thus, the Section 1692a(6)(F) exemption applied); Montgomery v. Educ. Credit Mgmt.

Corp., 238 B.R. 806, 810 (D. Minn. 1999) (dismissing claims against guaranty agency because its

actions to collect on defaulted student loans owed to the USDOE were “incidental to a bona fide

fiduciary obligation” to the federal government and its actions were not subject to FDCPA).

       Pursuant to the Contract, MOHELA services student loans owned by the USDOE. In this

endeavor, MOHELA’s collection activity is merely incidental to its primary function of servicing

those student loans, including by helping the USDOE to process PSLF applications. As a result,

MOHELA is not a “debt collector” under the FDCPA, and Count 5 should be dismissed.

9.     Plaintiffs’ breach of contract claim (Count 6) fails.

       Count 6 asserts that MOHELA breached the Contract with the USDOE “by failing to

timely processing [sic] and rendering [sic] decisions on the [PSLF] applications.” Compl. ¶ 218.




                                              - 20 -
Case: 4:24-cv-00147-CDP           Doc. #: 20      Filed: 03/12/24       Page: 22 of 27 PageID #:
                                                322



Count 6 is legally deficient and should be dismissed because: (a) Plaintiffs are neither parties to,

nor third party beneficiaries of, the Contract;18 and (b) Plaintiffs fail to identify any provision of

the Contract that MOHELA supposedly breached.

       a.      Plaintiffs are not third parties beneficiaries of the Contract.

       Plaintiffs allege they “are third party beneficiaries of the contract entered into between

MOHELA and the federal government.” Compl. ¶ 211. Plaintiffs’ theory fails as a matter of law.19

       “‘A nonparty becomes legally entitled to a benefit promised in a contract ... only if the

contracting parties so intend.’” Syngenta Seeds, Inc. v. Bunge N. Am., Inc., 773 F.3d 58, 64 (8th

Cir. 2014) (quoting Astra USA, Inc. v. Santa Clara Cnty., Cal., 563 U.S. 110, 117 (2011)).

“Proving third-party beneficiary status requires that the contract terms clearly evidence[ ] an intent

to permit enforcement by the third party in question.” Travis v. Navient Corp., 460 F. Supp. 3d

269, 284 (E.D.N.Y. 2020) (quotations omitted). “[I]ndividual members of the public are treated as

incidental beneficiaries unless a different intention is manifested.” Id. (quotations omitted); see

also Hyland, 2019 WL 2918238, at *8 (same); Hillside Metro Assoc., 747 F.3d at 49 (same).


       18
            The Complaint (at ¶¶ 212-216) includes allegations that MOHELA is a party to the
master promissory notes (“MPNs”) between Plaintiffs and the USDOE because of the manner in
which the MPNs define the USDOE. Plaintiffs’ position is inaccurate. Nevertheless, Plaintiffs are
not alleging that MOHELA breached the MPNs; rather, they are alleging that MOHELA breached
the Contract. Compare Compl. ¶ 218 (alleging MOHELA breached the “terms of the contract” by
failing to timely process and render decisions on PSLF applications) with Compl. ¶ 257 (alleging
that the USDOE and Secretary Cardona have not “timely processed and/or had timely decisions
rendered” on PSLF applications as provided for by the MPNs or the PSLF Program).
       19
           In cases involving federal student loan servicing, courts have applied federal common
law in determining whether an individual is a third party beneficiary of a federal government
contract. See, e.g., Hyland, 2019 WL 2918238, at *8 (“Federal common law governs interpretation
of ‘a federal government contract.’”) (quoting Hillside Metro Assoc., LLC v. JPMorgan Chase
Bank, Nat. Ass'n, 747 F.3d 44, 49 (2d Cir. 2014)); Travis, 460 F. Supp. 3d at 28 (“Federal common
law governs the interpretation of federal government contracts, such as ... Servicing Contracts.”)
(quoting Winebarger v. Pennsylvania Higher Educ. Assistance Agency, 411 F. Supp. 3d 1070,
1092 n.13 (C.D. Cal. 2019)).



                                                - 21 -
Case: 4:24-cv-00147-CDP           Doc. #: 20      Filed: 03/12/24       Page: 23 of 27 PageID #:
                                                323



       On its face, the Contract does not provide any third party beneficiary rights for borrowers.

In contrast, the Contract does include express third party rights with respect to certain intellectual

property issues. See Ex. 1, at 7 (Paragraph B.9(c)). By granting third party beneficiary rights in

some limited cases, the Contract, by implication, excludes any other third party beneficiary rights,

such as those claimed by Plaintiffs here. See Travis, 460 F. Supp. at 284.

       Federal courts have repeatedly held that student loan borrowers such as Plaintiffs are not

third party beneficiaries of the USDOE’s loan servicing contracts with servicers such as

MOHELA, including in cases concerning the PSLF Program, because:

              the contracts contain no language evidencing an intent to make student loan
               borrowers third party beneficiaries with rights of enforcement; and

              the HEA provides no private right of action and empowers only the Secretary of
               Education to enforce it.

See Wade v. Pennsylvania Higher Educ. Assistance Agency, No. CV 21-11595 (CPO), 2022 WL

1115275, at *2-3 (D.N.J. Apr. 14, 2022); Edelman v. United States Gov't, No. 18-CV-

2143(JS)(AKT), 2020 WL 7123175, at *11 (E.D.N.Y. Dec. 4, 2020); Travis, 460 F. Supp. 3d at

284; Love v. Pennsylvania Higher Educ. Assistance Agency, No. 1:19-CV-02387-JPB, 2020 WL

1545798, at *8 (N.D. Ga. Mar. 16, 2020); Winebarger, 411 F. Supp. 3d at 1092; Hyland 2019 WL

2918238, at *8. The Court should follow these decisions, reject Plaintiffs’ third party beneficiary

theory, and dismiss Count 6.

       b.      Even if Plaintiffs were third party beneficiaries of the Contract, they fail to
               identify any provision of the Contract that MOHELA breached.

       Additionally, Plaintiffs’ contract claim fails because they have not alleged that MOHELA

breached any specific provision of the Contract. Wade, 2022 WL 1115275, at *3; Travis, 460 F.

Supp. 3d at 284-85. As this Court previously stated:

       A plaintiff does not get to wait until discovery to identify what promises the


                                                - 22 -
Case: 4:24-cv-00147-CDP           Doc. #: 20     Filed: 03/12/24      Page: 24 of 27 PageID #:
                                               324



       defendant has breached .... The complaint must, at minimum, cite the contractual
       provision allegedly violated. Vague references to unspecified “agreements” are
       insufficient to state a claim for breach of contract.

AIDS Healthcare Found. v. Express Scripts, Inc., 658 F. Supp. 3d 693, 703 (E.D. Mo. 2023)

(internal quotations and citations omitted).

       Plaintiffs speculate that the Contract requires MOHELA to “timely process[ ] PSLF

applications and timely render[ ] decisions on the PSLF applications.” Comp. ¶ 211. But neither

the Contract nor federal law imposes any such obligation. The Contract does not set any specific

deadline for MOHELA to process Plaintiffs’ PSLF applications. Thus, Plaintiffs fail to state a

cognizable claim for breach of contract, and Count 6 must be dismissed.

10.    Plaintiffs’ claims for breach of fiduciary duty (Count 7), negligence (Count 8), and
       accounting (Count 9) fail because MOHELA does not have any fiduciary duty or duty
       of care to Plaintiffs.

       In Count 7, Plaintiffs assert a claim against MOHELA for breach of fiduciary duty, alleging

that MOHELA owes them a fiduciary duty because it is the servicer of their student loans and

processes PSLF applications. Compl. ¶ 222. In Count 8, Plaintiffs assert a claim against MOHELA

for negligence, which essentially mirrors their fiduciary duty claim (Count 7), alleging that

“MOHELA’s duties of care arose from the special relationship between Plaintiffs … and

MOHELA” and “MOHELA acted as a fiduciary to Plaintiffs … and owed them a duty to exercise

reasonable care, skill, and ability in processing and reviewing PSLF applications.” Compl. ¶ 229.

In Count 9, Plaintiffs assert a claim for accounting based on their fiduciary duty claim (Count 7),

alleging that “a fiduciary relationship exists between Plaintiffs … and MOHELA related to

Plaintiffs’ … student loans of which MOHELA is currently as [sic] the servicer.” Compl. ¶ 238.

       These three claims are legally deficient, as a matter of law, because MOHELA does not

have any fiduciary duty or duty of care to Plaintiffs in servicing their student loans or processing



                                               - 23 -
Case: 4:24-cv-00147-CDP           Doc. #: 20      Filed: 03/12/24       Page: 25 of 27 PageID #:
                                                325



their PSLF applications. This is because MOHELA acts on behalf of the USDOE (pursuant to the

Contract), not the borrowers, in servicing student loans and processing PSLF applications.

       “To prove a breach of fiduciary duty …, a plaintiff must establish, among other elements,

that a fiduciary duty existed and was breached.” Wivell v. Wells Fargo Bank, N.A., 773 F.3d 887,

894 (8th Cir. 2014). A claim for an accounting likewise requires the existence of a fiduciary duty.

See Burshteyn v. Cmty. Hous. Ass'n, Inc., No. 4:19-CV-00830-SRC, 2020 WL 529308, at *12–13

(E.D. Mo. Feb. 3, 2020).

       In general, a lender (e.g., the USDOE) and its loan servicer (e.g., MOHELA) do not owe a

fiduciary duty or any tort duty of care to borrowers (e.g., Plaintiffs). See UT Commc'ns Credit

Corp. v. Resort Dev., Inc., 861 S.W.2d 699, 710 (Mo. Ct. App. 1993) (“As a matter of law, absent

other evidence of a fiduciary relationship, there is no such relationship between a bank as lender

and its customer as borrower.”); Wivell, 773 F.3d at 900 (“Because Missouri courts have not

recognized a tort duty arising from the contractual relationship between a lender and borrower, the

Wivells fail to state a plausible negligence claim against Wells Fargo.”); Shaner v. Sys. Integrators,

Inc., 63 S.W.3d 674, 678 (Mo. Ct. App. 2001) (“[T]he existence of such a debtor-creditor

relationship does not establish the requisite fiduciary relationship to support an equitable action

for an accounting.”). Consequently, because there is no such duty, federal courts have repeatedly

dismissed claims by borrowers against federal student loan servicers such as MOHELA for breach

of fiduciary duty, negligence, and accounting. Hyland, 2019 WL 2918238, at *11; Winebarger,

411 F. Supp. 3d at 1091-92; Love, 2020 WL 1545798, at *6-7. The Court should do the same.

11.    Plaintiffs’ unjust enrichment claim (Count 10) fails because they have not conferred
       any benefit on MOHELA in that the USDOE, not Plaintiffs, pays MOHELA for
       servicing Plaintiffs’ student loans.

       Plaintiffs purport to assert a claim against MOHELA for unjust enrichment, but their claim




                                                - 24 -
Case: 4:24-cv-00147-CDP            Doc. #: 20       Filed: 03/12/24       Page: 26 of 27 PageID #:
                                                  326



is legally insufficient and ripe for dismissal because Plaintiffs fail to allege (and cannot allege) that

they conferred any benefit on MOHELA.

        “[A] claim for unjust enrichment requires the plaintiff to plead and prove three elements, a

benefit conferred by a plaintiff on a defendant; the defendant's appreciation of the fact of that

benefit; and the acceptance and retention of the benefit by the defendant in circumstances that

would render that retention inequitable.” Hennessey v. Gap, Inc., 86 F.4th 823, 830–31 (8th Cir.

2023) (quotation omitted). “[T]o state a claim for unjust enrichment, a plaintiff must allege that a

benefit was conferred on the defendant by that particular plaintiff.” LifeScience Techs., LLC v.

Mercy Health, 632 F. Supp. 3d 949, 960 (E.D. Mo. 2022).

        Plaintiffs allege that MOHELA “has profited and benefited from the service [sic] of loans

that, if it had timely processed and forgiven the loan forgiveness applications, should have been

forgiven.” Compl. ¶ 245 (emphasis added). In other words, Plaintiffs complain that MOHELA has

continued to receive servicing fees for their loans, which, according to Plaintiffs, should have been

discharged under the PSLF Program.

        Plaintiffs’ unjust enrichment claim is deficient because the USDOE, not Plaintiffs, pays

MOHELA for servicing student loans, including Plaintiffs’ student loans. Thus, Plaintiffs have not

conferred any benefit on MOHELA. For this reason, other courts have rejected similar unjust

enrichment claims by borrowers such as Plaintiffs against federal student loan servicers like

MOHELA. See Hyland, 2019 WL 2918238, at *14; Nigro v. Pennsylvania Higher Educ.

Assistance Agency, No. 1:19-CV-02000, 2020 WL 5369980, at *9 (M.D. Pa. Sept. 8, 2020). The

Court should do the same here and dismiss Count 10.

                                             CONCLUSION

        The Court should dismiss all of Plaintiffs’ claims in the Complaint against MOHELA.




                                                 - 25 -
Case: 4:24-cv-00147-CDP   Doc. #: 20     Filed: 03/12/24     Page: 27 of 27 PageID #:
                                       327



                                   Respectfully submitted,
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                                       - 26 -
